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        (Slip Opinion)              OCTOBER TERM, 2022                                       1

                                               Syllabus

                 NOTE: Where it is feasible, a syllabus (headnote) will be released, as is
               being done in connection with this case, at the time the opinion is issued.
               The syllabus constitutes no part of the opinion of the Court but has been
               prepared by the Reporter of Decisions for the convenience of the reader.
               See United States v. Detroit Timber & Lumber Co., 200 U. S. 321, 337.


        SUPREME COURT OF THE UNITED STATES

                                               Syllabus

                              SMITH v. UNITED STATES

        CERTIORARI TO THE UNITED STATES COURT OF APPEALS FOR
                        THE ELEVENTH CIRCUIT

             No. 21–1576. Argued March 28, 2023—Decided June 15, 2023
        Timothy Smith was indicted in the Northern District of Florida for theft
          of trade secrets from a website owned by StrikeLines. Before trial,
          Smith moved to dismiss the indictment for lack of venue, citing the
          Constitution’s Venue Clause, Art. III, §2, cl. 3, and its Vicinage Clause,
          Amdt. 6. Smith argued that trial in the Northern District of Florida
          was improper because he had accessed StrikeLines’ website from his
          home in Mobile (in the Southern District of Alabama) and the servers
          storing StrikeLines’ data were located in Orlando (in the Middle Dis-
          trict of Florida). The District Court concluded that factual disputes
          related to venue should be resolved by the jury and denied Smith’s mo-
          tion to dismiss without prejudice. The jury found Smith guilty, and
          Smith moved for a judgment of acquittal based on improper venue. See
          Fed. Rule Crim. Proc. 29. The District Court denied the motion, rea-
          soning that the effects of Smith’s crime were felt at StrikeLines’ head-
          quarters, located in the Northern District of Florida. On appeal, the
          Eleventh Circuit determined that venue was improper, but disagreed
          with Smith that a trial in an improper venue barred reprosecution.
          The Eleventh Circuit therefore vacated Smith’s conviction for theft of
          trade secrets.
        Held: The Constitution permits the retrial of a defendant following a
         trial in an improper venue conducted before a jury drawn from the
         wrong district. Pp. 3–16.
            (a) Except as prohibited by the Double Jeopardy Clause, it “has long
         been the rule that when a defendant obtains a reversal of a prior, un-
         satisfied conviction, he may be retried in the normal course of events.”
         United States v. Ewell, 383 U. S. 116, 121. In all circumstances outside
         of the Speedy Trial Clause, the strongest appropriate remedy for trial
         error is a new trial, not a judgment barring reprosecution. Pp. 3–4.
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                  (1) Text and precedent provide no basis for concluding that viola-
            tions of the Venue and Vicinage Clauses are exceptions to the retrial
            rule. The Venue Clause mandates that the “Trial of all Crimes . . .
            shall be held in the State where the . . . Crimes shall have been com-
            mitted.” Art. III, §2, cl. 3. Nothing about this language suggests that
            a new trial in the proper venue is not an adequate remedy for its vio-
            lation. Smith primarily argues that the Venue Clause aims to prevent
            the infliction of additional harm on a defendant who has already un-
            dergone the hardship of an initial trial in a distant and improper place.
            But the mere burden of a second trial has never justified an exemption
            from the retrial rule. See Ewell, 383 U. S., at 121. Indeed, while the
            most convenient trial venue for a defendant would presumably be
            where he lives, the Venue Clause is keyed to the location of the alleged
            crimes. The Clause does not allow “variation . . . for convenience of the
            . . . accused,” Johnston v. United States, 351 U. S. 215, 221, and this
            Court has repeatedly rejected objections based on the hardships cre-
            ated when a defendant is prosecuted far from home.
                The Vicinage Clause—which guarantees “the right to . . . an impar-
            tial jury of the State and district wherein the crime shall have been
            committed,” Amdt. 6—similarly provides no support for Smith’s argu-
            ment that retrial is barred here. The Vicinage Clause differs from the
            Venue Clause in two ways: it concerns jury composition, not the place
            where a trial may be held, and it concerns the district where the crime
            was committed, rather than the State. Nothing about these differences
            dictates a remedy that is broader than the one awarded when the
            Venue Clause is violated. The vicinage right is only one aspect of the
            jury-trial rights protected by the Sixth Amendment, and the Court has
            repeatedly acknowledged that retrials are the appropriate remedy for
            violations of other jury-trial rights. Most analogous to this case, the
            Court has held that retrial is the appropriate remedy when a defend-
            ant is tried by a jury that does not reflect a fair cross-section of the
            community. See Glasser v. United States, 315 U. S. 60, 85–87. There
            is no reason to conclude that trial before a jury drawn from the wrong
            geographic area demands a different remedy. Pp. 4–7.
                  (2) The historical background of the Venue and Vicinage Clauses
            similarly does not demand a departure from the retrial rule. The com-
            mon-law “vicinage” right presumptively entitled defendants to a jury
            of the “neighbourhood” where the crime was allegedly committed. 4
            W. Blackstone, Commentaries on the Laws of England 344. As a prac-
            tical matter, this right imposed a venue requirement: Trials needed to
            be held at the location where “the matter of fact issuable” allegedly
            occurred to allow the “Inhabitants whereof ” to serve on the jury. E.
            Coke, 1 Institutes of the Laws of England §193, p. 125. History reveals
            that the common-law vicinage right was highly prized by the founding
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                                        Syllabus

         generation, and this right undoubtedly inspired the Venue and Vici-
         nage Clauses in the Constitution. Although the Clauses as adopted
         depart in some respects from the common law—most notably by
         providing new specifications about the place where a crime may be
         tried—there is no meaningful evidence to support Smith’s contention
         that the Constitution altered the remedy prescribed by common law
         for violations of the vicinage right.
            By the time of the founding, compelling evidence supported the con-
         clusion that pleas of prior acquittal or conviction could not be grounded
         on a verdict issued in or returned by a jury from the wrong vicinage.
         See Arundel’s Case, 6 Co. Rep. 14a, 77 Eng. Rep. 273. Judicial deci-
         sions and prominent treatises of the time and since reflect no common-
         law principle at the founding that precluded retrial following a trial in
         an improper venue or before an improper jury. Indeed, this Court em-
         braced the retrial rule for a venue error in United States v. Jackalow,
         1 Black 484, and this decision did not break new ground. The Court
         has found—and Smith points to—no decision barring retrial based on
         a successful venue or vicinage objection in either the centuries of com-
         mon law predating the founding or in the early years of practice fol-
         lowing ratification. This absence alone is considerable evidence that
         the clauses do not bar retrial of their own force. See, e.g., Gamble v.
         United States, 587 U. S.___, ___. Moreover, courts affirmatively al-
         lowed retrial following trials in an improper venue or before improp-
         erly constituted juries. This leaves no reason to doubt that the retrial
         rule applies here. Pp. 7–14.
            (b) The Court rejects Smith’s argument that the Double Jeopardy
         Clause is implicated by retrial in a proper venue. A judicial decision
         on venue is fundamentally different from a jury’s general verdict of
         acquittal. When a jury returns a general verdict of not guilty, its deci-
         sion “cannot be upset by speculation or inquiry into such matters” by
         courts. Dunn v. United States, 284 U. S. 390, 393–394. And because
         it is impossible for courts to be certain about the ground for the verdict
         without improperly delving into jury deliberations, the basis for the
         jury’s verdict cannot be a ground for setting aside an acquittal. Gen-
         eral verdicts of acquittal are thus consistent with the general rule that
         “[c]ulpability . . . is the touchstone” for determining whether retrial is
         permitted under the Double Jeopardy Clause. Evans v. Michigan, 568
         U. S. 313, 324. Under that rule, when a trial terminates with a finding
         that the defendant’s “criminal culpability had not been established,”
         retrial is prohibited. Burks v. United States, 437 U. S. 1, 10. Con-
         versely, retrial is permissible when a trial terminates “on a basis un-
         related to factual guilt or innocence of the offence of which [the defend-
         ant] is accused,” United States v. Scott, 437 U. S. 82, 99, e.g., juror
         deadlock, see Blueford v. Arkansas, 566 U. S. 599, 610. Similarly, the
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            reversal of a conviction based on a violation of the Venue or Vicinage
            Clauses, even when styled as a “judgment of acquittal” under Rule 29,
            plainly does not resolve “the bottom-line question of ‘criminal culpabil-
            ity.’ ” Evans, 568 U. S., at 324, n. 6. In this case, then, the Eleventh
            Circuit’s decision that venue was improper did not adjudicate Smith’s
            culpability, and thus does not trigger the Double Jeopardy Clause. Pp.
            14–16.
        22 F. 4th 1236, affirmed.

            ALITO, J., delivered the opinion for a unanimous Court.
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                                     Opinion of the Court

             NOTICE: This opinion is subject to formal revision before publication in the
             United States Reports. Readers are requested to notify the Reporter of
             Decisions, Supreme Court of the United States, Washington, D. C. 20543,
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        SUPREME COURT OF THE UNITED STATES
                                           _________________

                                           No. 21–1576
                                           _________________


        TIMOTHY J. SMITH, PETITIONER v. UNITED STATES
         ON WRIT OF CERTIORARI TO THE UNITED STATES COURT OF
                  APPEALS FOR THE ELEVENTH CIRCUIT
                                         [June 15, 2023]

          JUSTICE ALITO delivered the opinion of the Court.
          When a conviction is reversed because of a trial error, this
        Court has long allowed retrial in nearly all circumstances.
        We consider in this case whether the Constitution requires
        a different outcome when a conviction is reversed because
        the prosecution occurred in the wrong venue and before a
        jury drawn from the wrong location. We hold that it does
        not.
                                      I
          Timothy Smith is a software engineer and avid angler
        from Mobile, Alabama, who spends much of his time fish-
        ing, sailing, and diving in the Gulf of Mexico. In 2018, he
        discovered StrikeLines, a company that uses sonar equip-
        ment to identify private, artificial reefs that individuals
        construct to attract fish. StrikeLines sells the geographic
        coordinates of those reefs to interested parties. This busi-
        ness model irritated Smith, who believed that StrikeLines
        was unfairly profiting from the work of private reef build-
        ers.
          Smith used a web application to obtain tranches of coor-
        dinates from the company’s website surreptitiously. He
        then announced on a social-media website that he had
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                              Opinion of the Court

        StrikeLines’ data and invited readers to message him and
        “ ‘see what ree[f ]’ ” coordinates StrikeLines had discovered.
        22 F. 4th 1236, 1239 (CA11 2022) (case below). When con-
        tacted by StrikeLines, Smith offered to remove his social-
        media posts and fix the company’s security issues in ex-
        change for “ ‘one thing’ ”: the coordinates of certain “ ‘deep
        grouper spots’ ” that he had apparently been unable to ob-
        tain from the website. Ibid. The ensuing negotiations over
        grouper coordinates eventually failed, leading StrikeLines
        to contact law-enforcement authorities.
            Smith was indicted in the Northern District of Florida
        for, among other charges, theft of trade secrets. See 18
        U. S. C. §1832(a)(1). Before trial, he moved to dismiss the
        indictment for lack of venue, citing the Constitution’s
        Venue Clause, Art. III, §2, cl. 3, and its Vicinage Clause,
        Amdt. 6. He argued that trial in the Northern District of
        Florida was improper because he had accessed the data
        from Mobile (in the Southern District of Alabama) and the
        servers storing StrikeLines’ coordinates were located in Or-
        lando (in the Middle District of Florida). The District Court
        concluded that the jury needed to resolve factual disputes
        related to venue, and it therefore denied the motion to dis-
        miss without prejudice. After the jury returned a verdict of
        guilty under §1832(a)(1), Smith moved for a judgment of ac-
        quittal based on improper venue. See Fed. Rule Crim.
        Proc. 29. The District Court denied the motion, reasoning
        that StrikeLines felt the effects of the crime at its head-
        quarters in the Northern District of Florida.
            On appeal, the Eleventh Circuit held that venue was im-
        proper on the trade secrets charge, but it disagreed with
        Smith that this error barred reprosecution. It concluded
        that the “remedy for improper venue is vacatur of the con-
        viction, not acquittal or dismissal with prejudice,” and that
        the “Double Jeopardy [C]lause is not implicated by a retrial
        in a proper venue.” 22 F. 4th, at 1244.
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          We granted certiorari to determine whether the Consti-
        tution permits the retrial of a defendant following a trial in
        an improper venue and before a jury drawn from the wrong
        district. 598 U. S. ___ (2022).1
                                       II
                                       A
           Except as prohibited by the Double Jeopardy Clause, it
        “has long been the rule that when a defendant obtains a
        reversal of a prior, unsatisfied conviction, he may be retried
        in the normal course of events.” United States v. Ewell, 383
        U. S. 116, 121 (1966); accord, Bravo-Fernandez v. United
        States, 580 U. S. 5, 18–19 (2016). Remedies for constitu-
        tional violations in criminal trials, we have explained,
        “should be tailored to the injury suffered from the constitu-
        tional violation and should not unnecessarily infringe on
        competing interests.” United States v. Morrison, 449 U. S.
        361, 364 (1981). When a conviction is obtained in a proceed-
        ing marred by harmful trial error, “the accused has a strong
        interest in obtaining a fair readjudication of his guilt,” and
        society “maintains a valid concern for insuring that the
        guilty are punished.” Burks v. United States, 437 U. S. 1,
        15 (1978). Therefore, the appropriate remedy for prejudi-
        cial trial error, in almost all circumstances, is simply the
        award of a retrial, not a judgment barring reprosecution.
        See, e.g., Morrison, 449 U. S., at 363, 365–367; United
        States v. Blue, 384 U. S. 251, 254–255 (1966).2
        ——————
           1 The Government did not cross-appeal the Eleventh Circuit’s decision

        that venue for trade secrets theft was improper in the Northern District
        of Florida. We thus express no opinion on that issue. See, e.g., Burks v.
        United States, 437 U. S. 1, 5 (1978). We likewise do not resolve whether
        venue on that charge would be proper in the Middle District of Florida,
        a question that the Eleventh Circuit declined to address. See Cutter v.
        Wilkinson, 544 U. S. 709, 718, n. 7 (2005) (“[W]e are a court of review,
        not of first view”).
           2 In some circumstances, a constitutional violation may not require re-

        trial. See, e.g., Waller v. Georgia, 467 U. S. 39, 49–50 (1984).
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          We have recognized one exception to this general rule: vi-
        olations of the Speedy Trial Clause, which we have de-
        scribed as “generically different” from “any” other criminal
        right in the Constitution, Barker v. Wingo, 407 U. S. 514,
        519 (1972), preclude retrial. In all other circumstances, we
        have found that retrial is the strongest appropriate remedy,
        and we have applied this rule to every other Clause of the
        Sixth Amendment except for the Vicinage Clause (which we
        now address along with the Venue Clause).3
                                      B
          Against this backdrop, we are asked to consider whether
        violations of the Venue and Vicinage Clauses are exceptions
        to the retrial rule. Text and precedent provide no basis for
        that result.
          We start with the Venue Clause, which concerns the
        place where a trial must be held. That Clause mandates
        that the “Trial of all Crimes . . . shall be held in the State
        where the . . . Crimes shall have been committed.” Art. III,
        §2, cl. 3.4 Nothing about the language that frames this re-
        quirement suggests that a new trial in the proper venue is

        ——————
           3 See, e.g., Weaver v. Massachusetts, 582 U. S. 286, 305 (2017) (Counsel

        Clause); Waller, 467 U. S., at 49–50 (Public Trial Clause); Ramos v. Lou-
        isiana, 590 U. S. ___, ___–___ (2020) (slip op., at 22–23) (Jury Clause);
        Idaho v. Wright, 497 U. S. 805, 813, 827 (1990) (Confrontation Clause);
        Pennsylvania v. Ritchie, 480 U. S. 39, 56, 58 (1987) (Compulsory Process
        Clause); Russell v. United States, 369 U. S. 749, 761, 764, 770 (1962) (Ar-
        raignment Clause); see also, e.g., Grunewald v. United States, 353 U. S.
        391, 424 (1957) (Self-Incrimination Clause); Russell, 369 U. S., at 761,
        769–770 (Grand Jury Clause); Kyles v. Whitley, 514 U. S. 419, 421–422
        (1995) (Due Process Clause); Hill v. Texas, 316 U. S. 400, 406 (1942)
        (holding that a State may file a new indictment following the postconvic-
        tion dismissal of an indictment under the Equal Protection Clause);
        United States v. Morrison, 449 U. S. 361, 364–365 (1981) (collecting other
        decisions).
           4 The Venue Clause also includes a necessary exception: the trial for

        crimes “not committed within any State . . . shall be at such Place or
        Places as the Congress may by Law have directed.” Art. III, §2, cl. 3.
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        not an adequate remedy for its violation.
           Smith contends that the purpose of the Venue Clause
        supports his argument, but that argument is unpersuasive
        for at least two reasons. First, the purpose he attributes to
        the Clause is insufficient to justify a departure from the
        general retrial rule. Smith primarily argues that the Venue
        Clause aims to prevent the infliction of additional harm on
        a defendant who has already undergone the hardship of an
        initial trial in a distant and improper place. But any crim-
        inal trial, whether or not in the right venue, imposes hard-
        ship, and any retrial after a reversal for trial error adds to
        that initial harm. Indeed, in some cases, the lost time, emo-
        tional burden, and expense of a flawed initial trial in a de-
        fendant’s home State may exceed the hardship of an initial
        trial in a State that is nearby but improper under the Venue
        Clause. And the mere burden of a second trial has never
        justified an exemption from the retrial rule. See Ewell, 383
        U. S., at 121.
           Second, Smith’s argument exaggerates the connection be-
        tween the venue right and the hardship of trial in an im-
        proper venue. The most convenient trial venue for a de-
        fendant would presumably be where he lives, and yet the
        Venue Clause is keyed to the location of the alleged
        “Crimes,” Art. III, §2, cl. 3, “not . . . the district where the
        accused resides, or even . . . the district in which he is per-
        sonally at the time of committing the crime,” In re Palliser,
        136 U. S. 257, 265 (1890). Thus, the Clause does not allow
        “variation . . . for convenience of the . . . accused.” Johnston
        v. United States, 351 U. S. 215, 221 (1956); accord, e.g., Ar-
        mour Packing Co. v. United States, 209 U. S. 56, 77 (1908).
        The State in which a crime is committed may be far from a
        defendant’s residence. For example, a resident of New York
        charged with committing a crime during a short visit to Ha-
        waii may be tried in Hawaii under the Venue Clause even
        though that trial may be very inconvenient. Equally tell-
        ing, the Clause would preclude trial for that crime in New
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        York unless it somehow extended to the State. See, e.g.,
        Travis v. United States, 364 U. S. 631, 634–637 (1961)
        (holding that prosecution was proper only in Washington,
        D. C., rather than in the defendant’s residence in Colorado);
        United States v. Lombardo, 241 U. S. 73, 76–78 (1916)
        (holding the same for a defendant who resided in Washing-
        ton State). If avoiding hardship to a defendant were a “core
        purpos[e]” of the Venue Clause, Brief for Petitioner 18, such
        results would be inexplicable.
           This disconnect between the State where trial would be
        least burdensome and the State where a crime was commit-
        ted is exacerbated by the fact that many federal crimes oc-
        cur in multiple States. We have held that a trial may be
        held “ ‘where any part’ ” of a crime “ ‘can be proved to have
        been done.’ ” United States v. Rodriguez-Moreno, 526 U. S.
        275, 281 (1999) (quoting Lombardo, 241 U. S., at 77). As
        a result, the Venue Clause permits a defendant charged
        with conspiracy to be tried in any State in which any
        co-conspirator took any overt act in furtherance of the en-
        deavor, Hyde v. United States, 225 U. S. 347, 365–367
        (1912), and a defendant charged with illegally shipping
        goods may be tried in any State through which the goods
        were illegally transported, Armour Packing, 209 U. S., at
        76–77. In these cases, as others, we have repeatedly re-
        jected objections based on the “serious hardship in . . . pros-
        ecutions in places distant from the [defendant’s] home.” Id.,
        at 77.
           The Vicinage Clause provides no stronger textual support
        for petitioner’s argument. That Clause guarantees “the
        right to . . . an impartial jury of the State and district
        wherein the crime shall have been committed.” Amdt. 6.
        The coverage of this Clause “reinforce[s]” the coverage of
        the Venue Clause because, in protecting the right to a jury
        drawn from the place where a crime occurred, it func-
        tionally prescribes the place where a trial must be held.
        Rodriguez-Moreno, 526 U. S., at 278; Travis, 364 U. S., at
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        634; see, e.g., Palliser, 136 U. S., at 265. But the Vicinage
        Clause differs from the Venue Clause in two ways: it con-
        cerns jury composition, not the place where a trial may be
        held, and it narrows the place where trial is permissible by
        specifying that a jury must be drawn from “the State and
        district wherein the crime shall have been committed.”
        Amdt. 6 (emphasis added).
           Nothing about these differences dictates a remedy that is
        broader than the one awarded when the Venue Clause is
        violated. The vicinage right is only one aspect of the jury-
        trial rights protected by the Sixth Amendment, and we
        have repeatedly acknowledged that retrials are the appro-
        priate remedy for violations of other jury-trial rights. See,
        e.g., Ramos v. Louisiana, 590 U. S. ___, ___–___ (2020) (slip
        op., at 22–23) (non-unanimous jury); Pena-Rodriguez v. Col-
        orado, 580 U. S. 206, 228 (2017) (racially biased jury); Shep-
        pard v. Maxwell, 384 U. S. 333, 362–363 (1966) (partial
        jury). Most analogous to the case before us, we have recog-
        nized that retrial is the appropriate remedy when a defend-
        ant is tried by a jury that does not reflect a fair cross-section
        of the community. See, e.g., Glasser v. United States, 315
        U. S. 60, 85–87 (1942). There is no reason to conclude that
        trial before a jury drawn from the wrong geographic area
        demands a different remedy than trial before a jury drawn
        inadequately from within the community.
                                     C
          Failing to demonstrate that he is entitled to an acquittal
        based on text or precedent, Smith appeals to the historical
        background of the Venue and Vicinage Clauses. The his-
        tory underlying the Clauses cannot justify an exception to
        the retrial rule.
                                     1
          In examining this history, the relevant starting point, as
        both parties agree, is the common-law “vicinage” right,
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        which presumptively entitled defendants to a jury of the
        “neighbourhood” where the crime was allegedly committed.
        4 W. Blackstone, Commentaries on the Laws of England
        344 (1769) (Blackstone). As a practical matter, this right
        imposed a venue requirement: trials needed to be held at
        the location where “the matter of fact issuable” allegedly
        occurred to allow the “Inhabitants whereof ” to serve on the
        jury. 1 E. Coke, Institutes of the Laws of England §193, at
        125 (1628) (Coke).5
           Both of these requirements were well settled by the
        founding. See, e.g., Rex v. Harris, 3 Burr. 1330, 1334, 97
        Eng. Rep. 858, 860 (K. B. 1762) (Wilmot, J.) (opining that
        there was “no rule better established” than “ ‘that all causes
        shall be tried in the county, and by the neighbourhood of
        the place, where the fact is committed’ ”). Smith contends,
        however, that the Constitution not only incorporated this
        right but “elevated” it “to an even higher stature in Ameri-
        can law,” and that this enhanced right favors his preferred
        remedy. Brief for Petitioner 21. The historical record, how-
        ever, does not support this argument.
           There is no question that the founding generation enthu-
        siastically embraced the vicinage right and wielded it “as a
        political argument of the Revolution.”6 Prior to the Revolu-
        tion, Parliament enacted measures to circumvent local tri-
        als before colonial juries, most notably by authorizing trials
        in England for both British soldiers charged with murder-
        ing colonists and colonists accused of treason.7 The Conti-


        ——————
          5 See W. Blume, The Place of Trial in Criminal Cases, 43 Mich. L. Rev.

        59, 61 (1944) (Blume); D. Kershen, Vicinage, 29 Okla. L. Rev. 801, 811–
        812, 830–831 (1976).
          6 F. Heller, The Sixth Amendment to the Constitution of the United

        States 95 (1951) (Heller); see Blume 65–66; J. Reid, Constitutional His-
        tory of the American Revolution: The Authority of Rights 53–55 (1986).
          7 See 14 Geo. 3, c. 39 (1774); Proceedings in Both Houses Respecting

        the Discontents in America, Feb. 8, 1769, in 16 Parliamentary History of
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        nental Congress and colonial legislatures forcefully ob-
        jected to trials in England before loyalist juries, character-
        izing the practice as an affront to the existing “common law
        of England, and more especially to the great and inestima-
        ble privilege of being tried by . . . peers of the vicinage.”8
        The Declaration of Independence also denounced these
        laws, under which, it said, British soldiers were “protect[ed]
        . . . by a mock Trial” and colonists were “transport[ed] . . .
        beyond the Seas to be tried for pretended offences.”9 As
        States declared independence, most incorporated some
        form of a venue or vicinage clause in their governing docu-
        ments, but none of these provisions specified a particular
        remedy for violations.10

        ——————
        England From the Earliest Period to the Year 1803, at 510–511 (T. Han-
        sard ed. 1813) (approving the use of the Treason Act of 1543, 35 Hen. 8,
        c. 2).
           8 Declaration and Resolves of the First Continental Congress, Oct. 14,

        1774, in 1 Journals of the Continental Congress, 1774–1789, at 69 (W.
        Ford. ed. 1904); accord, e.g., Virginia Resolves, May 16, 1769, Journals of
        the House of Burgesses of Virginia, 1766–1769, at 214 (J. Kennedy ed.
        1906); Resolutions of July 7, 1769, in 45 Journals of the House of Repre-
        sentatives of Massachusetts 59–60 (1976); Resolutions of Aug. 27, 1774,
        in 9 Colonial Records of North Carolina 1045 (W. Saunders ed. 1890); see
        also J. Reid, Constitutional History of the American Revolution: The Au-
        thority To Legislate 281–286 (1991).
           9 Declaration of Independence ¶¶17, 21; see E. Dumbauld, The Decla-

        ration of Independence 133–137 (1950).
           10 See Del. Decl. of Rights §13 (1776), in 1 B. Schwartz, The Bill of

        Rights: A Documentary History 278 (1971); Del. Const., Art. 30 (1776),
        in 1 Federal and State Constitutions 568 (F. Thorpe ed. 1909) (Thorpe);
        Md. Const., Decl. of Rights, Art. XVIII (1776), in 3 id., at 1688; Pa. Const.,
        Decl. of Rights, Art. IX (1776), in 5 id., at 3083; Va. Const., Bill of Rights
        §8 (1776), in 7 id., at 3813; S. C. Const., Art. XVIII (1776), in 6 id., at
        3246; Ga. Const., Art. XXXIX (1777), in 2 id., at 783; Mass. Const., Decl.
        of Rights, Art. XIII (1780), in 3 id., at 1891; N. H. Const., Bill of Rights,
        Art. XVII (1784), in 4 id., at 2455–2456; N. Y. Bill of Rights ¶3 (1787), in
        The Complete Bill of Rights 410 (N. Cogan ed. 1997); see also N. C.
        Const., Decl. of Rights, Art. IX (1776), in 5 Thorpe 2787 (preserving the
        jury right “as heretofore used”).
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           The common-law vicinage right, both as a jury require-
        ment and as a proxy for venue, remained prominent during
        debates over the ratification of the Constitution. As origi-
        nally proposed, the Constitution contained only the Venue
        Clause, which, as noted, says nothing about jury composi-
        tion. Appealing to “ancient common law,” Anti-Federalists
        objected to this omission.11 Federalists responded that Con-
        gress could secure the vicinage right by statute, analogizing
        to common law, where “the preservation of this right [was]
        in the hands of Parliament.”12
           After the ratification of the Constitution, Congress
        yielded in part to the Anti-Federalists’ argument and in-
        cluded a vicinage right in the Sixth Amendment. James
        Madison’s initial draft of the Amendment required a jury
        “of the vicinage,” 1 Annals of Cong. 435 (1789), but Con-
        gress amended that language so that it guaranteed a jury
        from the State of the crime and from any smaller judicial
        districts that Congress chose to create.13
           This history tells us two important things about the way
        in which the Constitution dealt with the common-law vici-
        nage right. First, the right was highly prized by the found-
        ing generation, and this right undoubtedly inspired the
        Venue and Vicinage Clauses. Second, although the Clauses
        depart in some respects from the common law—most nota-
        bly by providing new specifications about the place where a
        ——————
          11 3 Debates on the Constitution 446–447 (J. Elliot ed. 1836) (Elliot’s

        Debates) (P. Henry); see, e.g., 1 id., at 504 (R. Lee); 2 id., at 109–110 (A.
        Holmes); id., at 400 (T. Tredwell); 3 id., at 568–569 (W. Grayson); 4 id.,
        at 150, 211 (J. M’Dowall); Federal Farmer No. 4 (1787), in 2 The Com-
        plete Anti-Federalist 249 (H. Storing ed. 1981) (Storing); see also, e.g., 4
        Elliot’s Debates 154–155 (S. Spencer); Agrippa No. 5 (1787), in 4 Storing
        78–79.
          12 3 Elliot’s Debates 558 (J. Marshall); see also, e.g., id., at 537 (J. Mad-

        ison); id., at 451 (G. Nicholas); id., at 520–521 (E. Pendleton); 4 id., at
        147–148 (J. Iredell); id., at 175–176 (A. Maclaine).
          13 See Heller 93; E. Kaufman, Territoriality in American Criminal Law,

        121 Mich. L. Rev. 353, 366–367 (2022).
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        crime may be tried—there is no meaningful evidence that
        the Constitution altered the remedy prescribed by common
        law for violations of the vicinage right.
                                       2
           With this background in mind, we examine the remedy
        at common law for an initial trial in the wrong venue or
        before a jury drawn from the wrong vicinage, and we find
        that this history does not demand a departure from the re-
        trial rule. By the time of the founding, compelling evidence
        supported the conclusion that pleas of prior acquittal or
        conviction could not be grounded on a verdict issued in or
        returned by a jury from the wrong vicinage.
           The leading decision at common law was Arundel’s Case,
        6 Co. Rep. 14a, 77 Eng. Rep. 273 (K. B. 1593), which con-
        cerned a vicinage challenge to a jury that had found the de-
        fendant guilty of murder. Id., at 14a–14b, 77 Eng. Rep., at
        274. The King’s Bench arrested judgment on the conviction
        because the jury was insufficiently local, but it did not bar
        retrial. Ibid. Instead, “a new venire facias [was] awarded
        to try the issue again.” Ibid.; see also Vaux’s Case, 4 Co.
        Rep. 44a, 45a, 76 Eng. Rep. 992, 994 (K. B. 1591) (adopting
        a similar rationale for insufficient indictments). Discussing
        Arundel’s Case at length, Sir Edward Coke’s 17th-century
        treatise agreed that juries lacked authority to convict out-
        side of their vicinage and added that a verdict by an im-
        properly constituted jury would cause a “mistryall.” 1 Coke
        §193, at 125; see also 3 id., at 137 (1644); Rex v. Fenwicke,
        1 Keble 546, 83 Eng. Rep. 1104 (K. B. 1662) (recognizing the
        availability of retrial “for misawarding of venue”); Rex v.
        Talbot, Cro. Car. 311, 312, 79 Eng. Rep. 871, 872 (K. B.
        1633) (awarding a new jury venire to remedy a vicinage er-
        ror).
           Arundel’s remedy remained unchanged throughout the
        18th century. Because “indictments are local,” one promi-
        nent treatise explained, a prior acquittal on an indictment
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        “laid in an improper county” would not “bar . . . a subse-
        quent indictment in the proper county.” 2 W. Hawkins,
        Pleas of the Crown 526 (6th ed. 1788). Hale and Blackstone
        reached similar conclusions. See 2 M. Hale, History of the
        Pleas of the Crown 245 (1736) (concluding that a second
        prosecution was available for indictments in different coun-
        ties because courts “can only inquire touching a felony” in
        their own county); 4 Blackstone 368–369 (explaining that a
        defendant “may be indicted again” when a judgment of con-
        viction is arrested for failure to adequately identify “the
        place” of the crime in the indictment); see also, e.g., Rex v.
        Huggins, 2 Ld. Raym. 1574, 1585, 92 Eng. Rep. 518, 525
        (K. B. 1730) (approvingly citing the remedy in Arundel’s
        Case). In sum, no common-law principle at the founding
        precluded retrial following a trial in an improper venue or
        before an improper jury.
           Early American practice provides further confirmation
        that violations of the Venue and Vicinage Clauses do not
        exempt defendants from retrial. Cf. Ramos, 590 U. S., at
        ___ (slip op., at 6); District of Columbia v. Heller, 554 U. S.
        570, 605 (2008); Crawford v. Washington, 541 U. S. 36, 49–
        50 (2004). Perhaps most relevant here, this Court em-
        braced the retrial rule for a venue error in United States v.
        Jackalow, 1 Black 484 (1862). In that case, the defendant
        had been convicted in New Jersey for a crime committed on
        a ship located off the coast of New York and Connecticut.
        Because the crime occurred outside of New Jersey, trial in
        that State was proper under the Venue and Vicinage
        Clauses only if the crime was committed outside the limits
        of any State. See supra, at 4, n. 3. And because the jury’s
        special verdict on the issue of venue did not establish that
        fact, the Court directed the lower court “to set aside the spe-
        cial verdict, and grant a new trial.” Jackalow, 1 Black, at
        488.
           This decision did not break new ground. Decades earlier,
        Justice Story had concluded that “there are cases where
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        there may be a new trial; as in cases of a mis-trial by an
        improper jury,” United States v. Gibert, 25 F. Cas. 1287,
        1302 (No. 15,204) (CC Mass. 1834) (citing Arundel’s Case),
        and Justice Iredell had found it “unnecessary” to consider a
        vicinage objection because a new trial was warranted on
        other grounds, United States v. Fries, 3 Dall. 515, 518 (CC
        Pa. 1799). Other federal decisions ordered retrials for
        venue violations, see United States v. Plympton, 27 F. Cas.
        578 (No. 16,057) (CC DC 1833), or otherwise accepted that
        a retrial would be sufficient to cure such an error, see, e.g.,
        United States v. Keen, 26 F. Cas. 686, 690 (No. 15,510) (CC
        Ind. 1839) (“It is laid down in all the authorities, that if the
        court have not jurisdiction . . . or the jury have not been le-
        gally summoned, the defendant, though tried, cannot be
        considered as having been in jeopardy”). State courts had
        likewise begun reaching similar conclusions, notwithstand-
        ing the existence of venue and vicinage clauses in their
        State Constitutions.14 Given these developments, it is not
        surprising that American treatises from this period agreed
        with their English counterparts regarding the availability
        of retrial.15
           Far from justifying an exemption from the retrial rule,
        the historical background of the Venue and Vicinage
        Clauses supports the opposite inference. We have found—
        and Smith points to—no decision barring retrial based on a
        successful venue or vicinage objection in either the centu-
        ries of common law predating the founding or in the early
        years of practice following ratification. This absence alone
        ——————
           14 See, e.g., Commonwealth v. Call, 38 Mass. 509, 514–515 (1839); State

        v. George, 8 La. 535, 539–540 (1844); Methard v. State, 19 Ohio St. 363,
        367 (1869).
           15 See, e.g., F. Wharton, Criminal Law 139 (1846) (“An acquittal upon

        an indictment in a wrong county, cannot be pleaded to a subsequent in-
        dictment for the offence in another county”); 1 J. Chitty, Criminal Law
        309 (Am. ed. 1819) (similar); 1 W. Russell & C. Greaves, Crimes and Mis-
        demeanors 835 (5th Am. ed. 1845) (similar); 2 M. Hale, The History of
        the Pleas of the Crown 255, n. 1 (1st Am. ed. 1847) (similar).
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        is considerable evidence that the Clauses do not bar retrial
        of their own force. See, e.g., Gamble v. United States, 587
        U. S. ___, ___ (2019) (slip op., at 12). Moreover, courts af-
        firmatively allowed retrial following trials in an improper
        venue or before improperly constituted juries. All told, we
        have no reason to doubt that the retrial rule applies.16
                                      III
           Smith argues that even if the Venue and Vicinage
        Clauses do not bar retrial of their own force, they are “in-
        separably interwoven” with the Double Jeopardy Clause,
        which, he claims, precludes retrial here. Tr. of Oral Arg.
        23; see Brief for Petitioner 38–39, 44. Smith starts from the
        premise that juries in criminal trials often resolve factual
        disputes related to venue and, thus, can acquit defendants
        if venue is absent. And because a jury’s general verdict of
        acquittal categorically precludes retrial for the same of-
        fense under the Double Jeopardy Clause, Smith contends
        that a judicial ruling that venue was improper on a motion
        to acquit should have the same result. The Eleventh Cir-
        cuit rejected this argument and held that the Double Jeop-
        ardy Clause “is not implicated by a retrial in a proper
        venue.” 22 F. 4th, at 1244. We agree.
           A judicial decision on venue is fundamentally different
        from a jury’s general verdict of acquittal. When a jury re-
        turns a general verdict of not guilty, its decision “cannot be
        upset by speculation or inquiry into such matters” by
        courts. Dunn v. United States, 284 U. S. 390, 393–394
        (1932); see United States v. Powell, 469 U. S. 57, 66–67
        (1984). To conclude otherwise would impermissibly author-
        ize judges to usurp the jury right. See ibid.; cf. United
        States v. Martin Linen Supply Co., 430 U. S. 564, 572–573
        ——————
          16 Because the evidence is uniformly consistent with the retrial rule,

        we need not determine the proper weight to give to this postratification
        history. See New York State Rifle & Pistol Assn., Inc. v. Bruen, 597 U. S.
        ___, ___–___ (2022) (BARRETT, J., concurring) (slip op., at 1–2).
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        (1977). And because it is impossible for a court to be certain
        about the ground for the verdict without improperly delving
        into the jurors’ deliberations, the jury holds an “ ‘unreview-
        able power . . . to return a verdict of not guilty’ ” even “ ‘for
        impermissible reasons.’ ” Powell, 469 U. S., at 63, 66–67;
        see Dunn, 284 U. S., at 393–394.
           This rationale is consistent with the general rule that
        “[c]ulpability . . . is the touchstone” for determining
        whether retrial is permitted under the Double Jeopardy
        Clause. Evans v. Michigan, 568 U. S. 313, 324 (2013).
        When a trial terminates with a finding that the defendant’s
        “criminal culpability had not been established,” retrial is
        prohibited. Burks, 437 U. S., at 10. This typically occurs
        with “ ‘a resolution, correct or not, of some or all of the fac-
        tual elements of the offense charged.’ ” Smith v. Massachu-
        setts, 543 U. S. 462, 468 (2005); see, e.g., Martin Linen, 430
        U. S., at 572. But it also extends to “essentially factual de-
        fense[s]” that negate culpability by “provid[ing] a legally ad-
        equate justification for otherwise criminal acts.” United
        States v. Scott, 437 U. S. 82, 97–98 (1978); see Burks, 437
        U. S., at 5, 10 (insanity defense).
           Conversely, retrial is permissible when a trial terminates
        “on a basis unrelated to factual guilt or innocence of the of-
        fence of which [the defendant] is accused.” Scott, 437 U. S.,
        at 99. For example, the Double Jeopardy Clause is not trig-
        gered when a trial ends in juror deadlock, see Blueford v.
        Arkansas, 566 U. S. 599, 610 (2012), or with a judgment dis-
        missing charges because of a procedural issue like prein-
        dictment delay, see Scott, 437 U. S., at 84. In these circum-
        stances, the termination of proceedings is perfectly
        consistent with the possibility that the defendant is guilty
        of the charged offense.
           The reversal of a conviction based on a violation of the
        Venue or Vicinage Clauses, even when styled as a “judg-
        ment of acquittal” under Rule 29, plainly does not resolve
        “the bottom-line question of ‘criminal culpability.’ ” Evans,
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        568 U. S., at 324, n. 6; see also Martin Linen, 430 U. S., at
        571 (“[W]hat constitutes an ‘acquittal’ is not to be controlled
        by the form of the judge’s action”). Instead, such a reversal
        is quintessentially a decision that “the Government’s case
        against [the defendant] must fail even though it might sat-
        isfy the trier of fact that he was guilty beyond a reasonable
        doubt.” Scott, 437 U. S., at 96. In this case, then, the Elev-
        enth Circuit’s decision that venue in the Northern District
        of Florida was improper did not adjudicate Smith’s culpa-
        bility. It thus does not trigger the Double Jeopardy Clause.
                                *     *    *
          For these reasons, the judgment of the Court of Appeals
        for the Eleventh Circuit is affirmed.

                                                      It is so ordered.
